               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION


RHONDA BURNETT, JEROD BREIT,
HOLLEE ELLIS, FRANCES HARVEY, and
JEREMY KEEL, on behalf of themselves and all
others similarly situated,

                        Plaintiffs,
        v.                                             Case No. 19-CV-00332-SRB

THE    NATIONAL    ASSOCIATION    OF
REALTORS, REALOGY HOLDINGS CORP.,
HOMESERVICES OF AMERICA, INC., BHH
AFFILIATES, LLC, HSF AFFILIATES, LLC,
RE/MAX LLC, and KELLER WILLIAMS
REALTY, INC.,

                        Defendants.


             UNOPPOSED MOTION FOR APPROVAL TO WITHDRAW
               SETTLEMENT FUNDS TO PAY COSTS OF NOTICE

        On April 23, 2024, the Court granted preliminary approval of the NAR Settlement. Doc.

1460. On August 9, 2024, the Court granted approval of the form of notice. Doc. 1521. Plaintiffs

and NAR are currently working to send and publish notice, and they have received an invoice for

costs from the notice and claims administrator. Plaintiffs request an order from the Court

confirming that Plaintiffs may withdraw funds from the settlement escrow accounts, up to the

amounts allowed by the Settlement Agreements, to pay the expected and necessary costs of

providing Notice to the Settlement Classes and administration of the Settlements, on an ongoing

basis as the costs are incurred. See, e.g., Doc. 1370 (granting similar motion for earlier settlements).

        The Settlement Agreement with NAR provides that after preliminary approval of the

Settlement and approval of a class notice plan, Co-Lead Counsel may utilize a portion of the

Settlement Fund to provide notice of the Settlement to potential members of the Settlement Class.




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See, e.g., Doc. 1458-1 at ECF 29, ¶ 42. NAR agreed that it will not object to Plaintiffs’ counsel

withdrawing from the Settlement Fund to pay the costs for notice. See id. The Court’s April 23,

2024, order further provides:

       “Co-Lead Counsel are, in accordance with the Settlement Agreements,
       authorized to submit a request as part of the Settling Parties’ notice plan to
       be submitted to the Court to withdraw up to the amounts allowed by the
       Settlement Agreements out of the Escrow Accounts upon the Court’s
       approval of the notice plan to pay the costs of notice.” (Doc. 1460, ¶10)

       The parties wish to make payment to the settlement and claims administrator

promptly to fund the substantial notice costs on an ongoing basis. Plaintiffs, therefore,

respectfully request that the Court grant this motion without delay and authorize the parties

to access the set-aside funds from the NAR Settlement escrow account.


DATED: August 14, 2024                             Respectfully submitted by:

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